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 6
                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                                EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA              )       CASE NO: 1:04-cr-5356 AWI
10                   Plaintiff,            )
                                           )       STIPULATION& ORDER TO ALLOW
11   vs                                    )       DEFENDANT TO TRAVEL
                                           )       OUT OF COUNTRY
12   PEDRO FARIAS                          )
                            Defendant.     )
13                                         )       HONORABLE JUDGE ANTHONY W. ISHII
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             TO THE HONORABLE JUDGE ANTHONY W. ISHII:
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             The parties herein, (Pretrial, Lydia Serrano and Assistant United States Attorney, Marlon
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     Cobar), hereby agree and stipulate that defendant PEDRO FARIAS be allowed to travel out of
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     the country to Mexico from September 1, 2005 and return to the United States on September 10,
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     2005.
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             Defendant’s father resides in Mexico and is in critical condition. The family needs
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     defendant there for a short period of time to provide emotional and financial assistance to his
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     younger siblings during this time of family crisis.
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23   Dated: August 29, 2005                                       Respectfully submitted,
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25                                                                /S/ JIM T. ELIA
                                                                  ATTORNEY FOR DEFENDANT
26                                                                PEDRO FARIAS
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       Case 1:04-cr-05356-AWI Document 186 Filed 08/30/05 Page 2 of 2


 1                                                ORDER
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 3
             GOOD CAUSE APPEARING: and based upon the agreement of the parties the pretrial
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     conditions of release are modified to allow PEDRO FARIAS to travel to Colima, Mexico due to his
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     father’s illness.
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             The defendant will leave the United States on or about September 1, 2005 and return no later
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     than on or before September 10, 2005.
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     IT IS SO ORDERED.
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     Dated:      August 29, 2005                        /s/ Anthony W. Ishii
10   0m8i78                                       UNITED STATES DISTRICT JUDGE
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